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     Eastern District of Washington
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 5
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 7
 8                                UNITED STATES DISTRICT
 9                       FOR THE EASTERN DISTRICT OF WASHINGTON
10
     UNITED STATES OF AMERICA,                                 4: 15-CR-6049-EFS
11
                                          Plaintiff,           SECOND SUPERSEDING
12
                        vs.                                    INDICTMENT
13
14   JESE DAVID CARILLO CASILLAS,                              Vio: 21 U.S.C. § 846
     ROSA ARACELI GRANADOS (a.k.a. La                          Conspiracy to Distribute 500
15
     China),                                                   Grams or More of a Mixture or
16                                                             Substance Containing a
17                                                             Detectable Amount of
                                                               Methamphetamine, 5 Kilograms
18   FRANCISCO DUARTE FIGUEROA,                                or More of Cocaine, 1 Kilogram
19                                                             or More of Heroin and 400 grams
                                                               or More ofN-phenyl-N
20
                                                               Propanamide
21   BRITTNEY LEE ZARAGOZA,                                    (Count 1)
22   SALVADOR GUDINO CHAVEZ,
                                                               Vio: 18 U.S.C. § 1956(h)
23                                                             Conspiracy to Commit Money
24                                                             Laundering (Count 2)
     JUVENAL LANDA SOLANO,
25
     ERICA MARIA SOLIS,                                        Vio: 21 U.S.C. § 841(a)(l),
26   EDGAR OMAR HERRERA FARIAS,                                (b )(1 )(A)(ii)
27   (a.k.a. Burro),                                           Possession with the Intent to
                                                               Distribute 5 Kilograms or more of
28                                                             Cocaine ( Count 3)

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 1
                                                                  Vio: 18 U.S.C. § 1956(a)(l)(B)(i)
 2
     JUAN BRAVO ZAMBRANO,                                         Money Laundering
 3                                                                (Counts 4, 5, 6, 7, 10, 11, 12, 14)
 4
     MIGUEL REYES GARCIA,
                                                                  Vio: 21 U .S.C. § 841(a)(l),
 5                                                                (b )(1 )(A)(viii)
 6   JOSE ADRIAN MENDOZA, and                                     Possession with the Intent to
     VERONICA ELVIRA CORTEZ,                                      Distribute 50 grams or more of
 7
                                                                  Actual Methamphetamine
 8                                                                (Count 8)
 9
                                                                  Vio: 18 U.S.C. 1956(a)(l )(B)(i)
10                                         Defendants.            International Money Laundering
11                                                                (Counts 9, 13)
12                                                                Vio: 21 U.S.C. § 841(a)(l),
13                                                                (b )(1 )(A)(i), (vi)
                                                                  Possession with the Intent to
14
                                                                  Distribute 1 Kilogram or More of
15                                                                a Mixture or Substance
16                                                                Containing Heroin and
                                                                  400 grams or More of a Mixture
17                                                                or Substance Containing N-
18                                                                phenyl-N Propanamide
                                                                  (Count 15)
19
20                                                                Notice of Criminal Forfeiture
21                                                                Allegations

22   The Grand Jury Charges:
23
                                                   COUNT ONE
24
25            Beginning on a date unknown but by on or about January 2010 continuing
26
     until on or about December 6, 2016, in the Eastern District of Washington and
27
28   elsewhere, the Defendants, JESE DA YID CARILLO CASILLAS, ROSA

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 1   ARACELI GRANADOS (a.k.a. La China),
 2
                                                                         FRANCISCO DUARTE
 3
 4   FIGUEROA, GABRIELA MENDOZA VASQUEZ,

 5
                                                                 SALVADOR GUDINO
 6
     CHAVEZ,                                                , JUVENAL LANDA, ERICA
 7
 8 MARIA SOLIS, EDGAR OMAR HERRERA FARIAS (a.k.a. Burro),
 9
lO

11                         JUAN BRAVO ZAMBRANO,
12
                           MIGUEL REYES GARCIA,
13
14                      JOSE ADRIAN MENDOZA, and VERONICA ELVIRA CORTEZ,

15
     did knowingly and intentionally combine, conspire, confederate and agree together
16
17   with each other and other persons, both known and unknown to the Grand Jury, to

18   commit the following offense against the United States, to wit: distribution of 500
19
     grams or more of a mixture or substance containing a detectable amount of
20
21   Methamphetamine, 5 kilograms or more of a mixture or substance containing a
22
     detectable amount of Cocaine, 1 kilograms or more of a mixture or substance
23
24   containing a detectable amount of heroin and 400 grams or more of a mixture or
25
     substance containing a detectable amount of N-phenyl-N Propanamide, all
26
27   Schedule II controlled substances, in violation of 21 U.S.C. § 841(a)(l),

28   (b)(l)(A)(i), (ii)(I), (vi), and (viii); all in violation of 21 U.S.C. § 846.

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 1                                              COUNT TWO
 2
              Beginning on a date unknown but by on or about January 2010 continuing
 3
 4   until present time, in the Eastern District of Washington and elsewhere, the
 5   Defendants, JESE DAVID CARILLO CASILLAS, GABRIELA MENDOZA
 6
 7   VASQUEZ,

 8                   , BRITTNEY LEE ZARAGOZA, SALVADOR GUDINO CHAVEZ,
 9
lO                                                                                       and

11   others known and unknown, unlawfully and knowingly combined, conspired,
12
     confederated and agreed together and with each other to commit certain money
13
14   laundering offenses under 18 U.S.C. § 1956, as follows:
15
                                                 (1956(a)(l))
16
17            The Defendants named in this count: did conduct and attempt to conduct

18   financial transactions, that is: transactions involving the movement of funds by
19
     wire and other means affecting interstate and foreign commerce, and transactions
20
21   involving the use of a financial institution which is engaged in and affects
22
     interstate and foreign commerce, which in fact involved the proceeds of specified
23
24   unlawful activity, that is, conspiracy to distribute controlled substances, in
25
     violation of 21 U.S.C. §§ 841(a)(l), (b)(l)(A), and 846, knowing that the property
26
27   involved in the financial transactions represents the proceeds of some form of

28   unlawful activity, knowing that the transactions are designed in whole or in part to

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 1   conceal and disguise the nature, the location, the source, the ownership, and the
 2
     control of the proceeds of the specified unlawful activity, in violation of 18 U.S.C.
 3
 4   § 1956(a)(l)(B)(i); and

 5                                                 (1956(a)(2))
 6
 7
              The Defendants named in this count: did transport, transmit, and transfer,

 8   and attempt to transport, transmit, and transfer a monetary instrument and funds
 9
     from a place in the United States to and through a place outside the United States
10
11   with the intent to promote the carrying on of specified unlawful activity, that is,
12
     conspiracy to distribute controlled substances, in violation of 21 U.S.C. §§
13
14   841(a)(l), (b)(l)(A), and 846; in violation of 18 U.S.C. § 1956(a)(2)(A).
15            The Grand Jury further alleges this offense was committed during and in
16
17   furtherance of the conspiracy charged in Count One, above.

18            All in violation of 18 U.S.C. § 1956(h).
19
20                                              COUNT THREE
21
              On or about August 20, 2014, in the Eastern District of Washington, the
22
23   Defendant, ERICA MARIA SOLIS, did knowingly and intentionally possess with
24
     intent to distribute 5 kilograms or more of mixture or substance containing a
25
26   detectable amount of cocaine, a schedule II controlled substance, in violation of 21
27   U.S.C. § 841(a)(l), (b)(l)(A)(ii), and 18 U.S.C. § 2.
28

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 1                                             COUNTFOUR
 2
             On or about April 22, 2015, and continuing until on or about April 27, 2015,
 3
 4   in the Eastern District of Washington and elsewhere, the Defendant, JESE DAVID
 5   CARILLO CASILLAS, did conduct and attempt to conduct a financial transaction
 6
     affecting interstate and foreign commerce, to wit: a money wire transfer of US
 7
 8   currency to a Wells Fargo account in the name of JESE CASILLAS located in
 9
     Kennewick, Washington; which involved the proceeds of a specified unlawful
10
11   activity, that is conspiracy to distribute and the distribution of controlled
12
     substances, in violation of21 U.S.C. §§ 841(a)(l), (b)(l)(A), and 846, knowing
13
14   that the transaction was designed in whole or in part to conceal and disguise the
15   nature, the location, the source, the ownership, and the control of the proceeds of
16
17   the specified unlawful activity, and that while conducting and attempting to

18   conduct such financial transaction knew that the property involved in the financial
19
     transaction, that is funds in the amount of $8000 represented the proceeds of some
20
21   form of unlawful activity in violation of 18 U.S.C. §§ 1956(a)(l )(B)(i), and 2.
22
23                                              COUNT FIVE
24
              On or about November 24, 2015, and continuing until on or about December
25
26   14, 2015, in the Eastern District of Washington and elsewhere, the Defendant,
27   JESE DAVID CARILLO CASILLAS, did conduct and attempt to conduct a
28
     financial transaction affecting interstate and foreign commerce, to wit: a money
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 1   wire transfer of U.S. currency to a Wells Fargo account in the name of JESE
 2
     CASILLAS located in Kennewick, Washington; which involved the proceeds of a
 3
 4   specified unlawful activity, that is conspiracy to distribute and the distribution of
 5
     controlled substances, in violation of21 U.S.C. §§ 84l (a)(l ), (b)(l)(A), and 846,
 6
     knowing that the transaction was designed in whole or in part to conceal and
 7
 8   disguise the nature, the location, the source, the ownership, and the control of the
 9
     proceeds of the specified unlawful activity, and that while conducting and
10
11   attempting to conduct such financial transaction knew that the property involved in
12
     the financial transaction, that is funds in the amount of $5,000 represented the
13
14   proceeds of some form of unlawful activity in violation of 18 U.S.C. §§
15   1956(a)(l)(B)(i), and 2.
16
17                                              COUNT SIX

18            On or about December 2, 2015 , and continuing until on or about December
19
     5, 2015, in the Eastern District of Washington and elsewhere, the Defendant,
20
21   GABRIELA MENDOZA VASQUEZ, did conduct and attempt to conduct a
22
     financial transaction affecting interstate and foreign commerce, to wit: a money
23
24   wire transfer of U.S. currency to a Bank of America account in the name of
25   Gabriela Mendoza located in Pasco, Washington; which involved the proceeds of a
26
27   specified unlawful activity, that is conspiracy to distribute and the distribution of

28   controlled substances, in violation of 21 U.S.C. §§ 841 (a)(l ), (b)(l)(A), and 846,

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 1   knowing that the transaction was designed in whole or in part to conceal and
 2
     disguise the nature, the location, the source, the ownership, and the control of the
 3
 4   proceeds of the specified unlawful activity, and that while conducting and

 5   attempting to conduct such financial transaction knew that the property involved in
 6
     the financial transaction, that is funds in the amount of $6,000 represented the
 7
 8   proceeds of some form of unlawful activity in violation of 18 U.S.C. §§
 9
     1956(a)(l )(B)(i), and 2.
10
11                                               COUNTSEVEN
12
              On or about December 2, 2015 , and continuing until on or about December
13
14   8, 2015, in the Eastern District of Washington and elsewhere, the Defendant, JESE

15   DAVID CARILLO CASILLAS , did conduct and attempt to conduct a financial
16
     transaction affecting interstate and foreign commerce, to wit: a money wire
17
18   transfer of U.S. currency to a Wells Fargo account in the name of Jese Casillas
19
     located in Kennewick, Washington; which involved the proceeds of a specified
20
21   unlawful activity, that is conspiracy to distribute and the distribution of controlled
22
     substances, in violation of 21 U .S.C. §§ 841(a)( l ), (b)( l )(A), and 846, knowing
23
24   that the transaction was designed in whole or in part to conceal and disguise the
25
     nature, the location, the source, the ownership, and the control of the proceeds of
26
27   the specified unlawful activity, and that while conducting and attempting to

28   conduct such financial transaction knew that the property involved in the financial

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 1   transaction, that is funds in the amount of $1,689.14 represented the proceeds of
 2
     some form of unlawful activity in violation of 18 U.S.C. §§ 1956(a)(l)(B)(i), and
 3
 4   2.
 5
                                               COUNT EIGHT
 6
              On or about January 6, 2016, in the Eastern District of Washington, the
 7
 8   Defendants, JESE DAVID CARILLO CASILLAS and JUVENAL LANDA
 9
     SOLANO, did knowingly and intentionally possess with intent to distribute 50
10
11   grams or more of actual Methamphetamine, a Schedule II controlled substance, in
12
     violation of21 U.S.C. § 841(a)(l), (b)(l)(A)(viii), and 18 U.S.C. § 2.
13
14
                                               COUNT NINE
15
16            On or about March 1, 2016, and continuing until on or about March 14,

17   2016, in the Eastern District of Washington and elsewhere, the Defendant, JESE
18
     DAVID CARILLO CASILLAS, did transport, transmit, and transfer, and attempt
19
20   to transport, transmit, and transfer monetary funds, that is $46,950 in Canadian
21
     Currency, from a place outside the United States that is Surrey, British Columbia
22
23   Canada, to and through a place inside the United States, to wit: US currency wired
24
     to various accounts in the United States to include $5,000 wired to a JP Morgan
25
26   Chase account located in Kennewick, Washington, in the name of Daisy Camacho,

27   with the intent to promote the carrying on of specified unlawful activity, that is,
28
     conspiracy to distribute and distribution of controlled substances, in violation of
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 1   21 U.S.C. §§ 841(a)(l), (b)(l)(A), and 846, in violation of 18 U.S.C. §§
 2
     1956(a)(2)(A), and 2.
 3
 4                                              COUNT TEN
 5           On or about April 7, 2016, until or about April 13, 2016, in the Eastern
 6
     District of Washington and elsewhere, the Defendant, IESE DA YID CARILLO
 7

 8   CASILLAS, did conduct and attempt to conduct a financial transaction affecting
 9
     interstate and foreign commerce, to wit: the transfer, delivery and other disposition
10
11   of $244,350.00 in U.S. funds from and at the direction of IESE DAVID
12
     CARILLLO CASILLAS to                                                which involved the
13
14   proceeds of a specified unlawful activity, that is conspiracy to distribute and the

15
     distribution of controlled substances, in violation of 21 U.S.C. §§ 841(a)(l),
16
17   (b )(1 )(A), and 846, knowing that the transaction was designed in whole or in part

18   to conceal and disguise the nature, the location, the source, the ownership, and the
19
     control of the proceeds of the specified unlawful activity, and that while
20
21   conducting and attempting to conduct such financial transaction knew that the
22
     property involved in the financial transaction, _that is funds in the amount of
23
24   $244,350.00 represented the proceeds of some form of unlawful activity in
25
     violation of 18 U.S.C. §§ 1956(a)(l)(B)(i), and 2.
26
27
28

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 1                                            COUNT ELEVEN
 2
              On or about May 17, 2016 and continuing until on or about May 18, 2016, in
 3
 4   the Eastern District of Washington and elsewhere, the Defendant, JESE DAVID

 5   CARILLO CASILLAS, did conduct and attempt to conduct a financial transaction
 6
     affecting interstate and foreign commerce, to wit: a money wire transfer of U.S.
 7
 8   funds to a Wells Fargo account in the name of Brittney Zaragoza located
 9
     Kennewick, Washington; which involved the proceeds of a specified unlawful
10
11   activity, that is conspiracy to distribute and the distribution of controlled
12
     substances, in violation of 21 U.S.C. §§ 841(a)(l), (b)(l)(A), and 846, knowing
13
14   that the transaction was designed in whole or in part to conceal and disguise the

15
     nature, the location, the source, the ownership, and the control of the proceeds of
16
     the specified unlawful activity, and that while conducting and attempting to
17
18   conduct such financial transaction knew that the property involved in the financial
19
     transaction, that is funds in the amount of$3,000 represented the proceeds of some
20
21   form of unlawful activity in violation of 18 U.S.C. §§ 1956(a)(l )(B)(i), and 2.
22
23                                            COUNT TWELVE
24
              On or about May 17, 2016 and continuing until on or about May 18, 2016,
25
26   in the Eastern District of Washington and elsewhere, the Defendant, BRITTNEY

27   LEE ZARAGOZA, did conduct and attempt to conduct a financial transaction
28
     affecting interstate and foreign commerce, to wit: a money wire transfer of U.S.
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 1   funds to a Wells Fargo account in the name of Brittney Zaragoza located in
 2
     Kennewick, Washington; which involved the proceeds of a specified unlawful
 3
 4   activity, that is conspiracy to distribute and the distribution of controlled
 5   substances, in violation of 21 U.S.C. §§ 841(a)(l), (b)(l)(A), and 846, knowing
 6
     that the transaction was designed in whole or in part to conceal and disguise the
 7
 8   nature, the location, the source, the ownership, and the control of the proceeds of
 9
     the specified unlawful activity, and that while conducting and attempting to
10
11   conduct such financial transaction knew that the property involved in the financial
12
     transaction, that is funds in the amount of$3,000 represented the proceeds of some
13
14   form of unlawful activity in violation of 18 U.S.C. §§ 1956(a)(l)(B)(i), and 2.
15
16                                           COUNT THIRTEEN
17            On or about May 26, 2016, and continuing until on or about June 3, 2016, in
18
     the Eastern District of Washington and elsewhere, the Defendant, JESE DAVID
19
20   CARILLO CASILLAS, did transport, transmit, and transfer, and attempt to
21
     transport, transmit, and transfer monetary funds, that is $225,070 in Canadian
22
23   Currency, from a place outside the United States that is Surrey, British Columbia,
24
     Canada, to and through a place inside the United States, to wit: U.S. currency
25
26   deposited and withdrawn in various accounts in the United States to include a

27   Wells Fargo Account located in Kennewick, Washington, in the name of Brittney
28
     Zaragoza, with the intent to promote the carrying on of specified unlawful activity,
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 1   that is, conspiracy to distribute and distribution of controlled substances, in
 2
     violation of21 U.S.C. §§ 841(a)(l), (b)(l)(A), and 846, in violation of Title 18
 3
 4   U.S.C. §§ 1956(a)(2)(A), and 2.

 5
 6                                           COUNT FOURTEEN

 7           On or about May 26, 2016, and continuing until on or about June 3, 2016, in
 8
     the Eastern District of Washington and elsewhere, the Defendant, BRITTNEY
 9
10   LEE ZARAGOZA, did conduct and attempt to conduct a financial transaction
11
     affecting interstate and foreign commerce, to wit: a money wire transfer of U.S.
12
13   currency to a Wells Fargo account in the name of Brittney Zaragoza located in
14
     Kennewick, Washington; which involved the proceeds of a specified unlawful
15
16   activity, that is conspiracy to distribute and the distribution of controlled

17   substances, in violation of21 U.S.C. §§ 841 (a)(l), (b)(l)(A), and 846, knowing
18
     that the transaction was designed in whole or in part to conceal and disguise the
19
20   nature, the location, the source, the ownership, and the control of the proceeds of
21
     the specified unlawful activity, and that while conducting and attempting to
22
23   conduct such financial transaction knew that the property involved in the financial
24
     transaction, that is funds in the amount of$3 ,000 represented the proceeds of some
25
26   form of unlawful activity in violation of 18 U.S.C. §§ 1956(a)(l)(B)(i), and 2.

27
28

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 1                                            COUNT FIFTEEN
 2
              On or about August 15, 2016, in the Eastern District of Washington, the
 3
 4   Defendants, JESE DAYID CARILLO CASILLAS, FRANCISCO DUARTE
 5   FIGUEROA and                                                         did knowingly and
 6
     intentionally possess with intent to distribute approximately 10 kilograms of a
 7
 8   substance which contained 400 grams or more of a mixture or substance containing
 9
     a detectable amount ofN-phenyl-N Propanamide and 1 kilogram or more of a
10
11   mixture or substance containing a detectable amount of Heroin, Schedule II
12
     controlled substances, in violation of21 U.S.C. § 841(a)(l), (b)(l)(A)(i), (vi) and
13
14   18 U.S.C. § 2.
15
16
17                NOTICE OF CRIMINAL FORFEITURE ALLEGATIONS

18           The allegations contained in this Indictment are hereby re-alleged and
19
     incorporated by reference for the purpose of alleging forfeitures.
20
21            Pursuant to 21 U.S.C. § 853, upon conviction of an offense of violation of
22
     21 U.S.C. § 846, JESE DAYID CARILLO CASILLAS, ROSA ARACELI
23
24   GRANADOS (a.k.a. La China),
25
                                               FRANCISCO DUARTE FIGUEROA,
26
27   GABRIELA MENDOZA VASQUEZ,

28                                                      BRITTNEY LEE ZARAGOZA,

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 1   SALVADOR GUDINO CHAVEZ,
 2
                                                        JUVENAL LANDA SOLANO,
 3
 4   ERICA MARIA SOLIS, EDGAR OMAR HERRERA FARIAS (a.k.a. Burro),

 5
 6
                                           JUAN BRAVO ZAMBRANO,
 7
 8                                                                        JOSE ADRIAN
 9
     MENDOZA, and VERONICA ELVIRA CORTEZ, and, shall forfeit to the United
10
11   States of America, any property constituting, or derived from, any proceeds
12
     obtained, directly or indirectly, as the result of such offense(s) and any property
13
14   used or intended to be used, in any manner or part, to commit or to facilitate the
15
     commission of the offense(s).
16
17
              If any forfeitable property, as a result of any act or omission of the

18   Defendants:
19
              (a) cannot be located upon the exercise of due diligence;
20
21            (b) has been transferred or sold to, or deposited with, a third party;
22
              (c) has been placed beyond the jurisdiction of the court;
23
24            (d) has been substantially diminished in value; or
25
              (e) has been commingled with other property which cannot be divided
26
27            without difficulty;

28

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 1   the United States of America shall be entitled to forfeiture of substitute property
 2
     pursuant to 21 U.S.C. § 853(p).
 3
 4
              DATED this                  day of December 2016.
 5
 6                                                      A TRUE BILL
 7
 8
 9
10
11
12   MICHAEL C. ORMSBY
     United State Attorney
13
14
15
16   Steplianie A. Van Marter
17   Assistant United States Attorney

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